FORM CLA−001
REVISED 01/12/2012



                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA

In re:                                                       Case No.: 2:18−bk−06889−EPB

    Rita Marie Ippolito−Parouse                              Chapter: 7
    10316 E. Verbena Lane
    Scottsdale, AZ 85255
    SSAN: xxx−xx−6175
    EIN:

Debtor(s)


                          NOTICE FIXING LAST DATE TO FILE CLAIMS

NOTICE IS HEREBY GIVEN THAT:

1. All Creditors of the above−named estate are required to file their claim pursuant to Bankruptcy Rule 3002(c) (5)
on or before October 22, 2018 in order to participate in the distribution of funds available. Any creditor who has
previously filed a claim need not file again. Please be advised that filing a claim does not guarantee that you will
receive payment on that claim. Whether you receive payment and the amount of any payment depends upon the
amount of funds in the estate and whether there are administrative costs and priority claims to be paid.

2. For governmental units, a proof of claim must be filed by the aforementioned deadline or 180 days after the date
of the order for relief in this case, whichever is later.

3. The proof of claim form can be obtained at the court's front counter and self help centers as well as access to
fillable PDF versions on the court's website www.azb.uscourts.gov. If you are a creditor (the person who is owed
money in a bankruptcy case) and are not represented by an attorney, you may also file a Proof of Claim and upload
PDF attachments via an online form on the court's website.

4. YOU ARE FURTHER NOTIFIED THAT if a distribution is to be declared for creditors, it will not be made until
conclusion of the administration of this estate by the trustee. At a later date, you will be given notice of the trustee's
final account and report and the proposed distribution.


Date: July 20, 2018

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                            George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov
